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                                                                January 8, 2020

           VIA ECF

          The Honorable Valerie E. Caproni
          United States District Judge
          United States District Court for the
          Southern District of New York
          Thurgood Marshall Courthouse
          40 Foley Square
          New York, NY 10007-1312

                     Re:   Feibleman v. Tire Trustees of Columbia University in the City of New York,
                           No. 1:19-cv-04327 (VEC)

           Dear Judge Caproni:

                 We represent Plaintiff Ben Feibleman in the referenced action . Pursuant to Your Honor' s
          Order dated June 28, 201 9 (ECF 43), we write on behalf of Plaintiff and Defendant The Trustees
          of Columbia University in the City of New York (together, the "Parties") to submit this Joint
          Report on the Status and Progress of Discovery ("Joint Report").

                  The Parties have finalized an agreement regarding the parameters for the exchange of
          electronically stored information. Following consultation among the Parties, Plaintiff provided
          Columbia with a set of documents with revised privileged redactions and a privilege log, and
          Columbia is in the process of providing certain documents with revised redactions. Plaintiff has
          requested that Columbia provide these documents by January 10, 2020.

                 Plaintiff believes that despite the Parties best efforts to resolve them, the following two
          discovery d!sputes require the C0urt' s intervention at this time:

          r.   Columbia' s Failure to Provide Documents Related to Plaintiffs Selective Enforcement and
               New York City Human Rights Law Causes of Action

          Plaintiffs Position

                 Columbia has failed to substantively respond to the items of Plaintiffs First Request for
          Production of Documents that are integral to his Title IX selective enforcement and New York
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    City Human Rights Law cau_ses of action. As the Court is aware, these are the only two causes
    of action that are in .active discovery while Columbia's Motion to Dismiss remains sub Judice.
    Discovery outside of these two causes of action was stayed by the Court's Order dated June 28,
    2019 (ECF No. 43) at Columbia's request. Yet, more than four months after receiving Plaintiffs
    discovery demands, Columbia has failed to provide any real discovery that would aid in moving
    this matter forward. Plaintiffs First Request for Production of Documents was served on August
    30, 2019. Columbia provided its responses and objections on October 7, 2019. Relevant
    portions of Plaintiffs First Request for Production of Documents (Exhibit A) and Columbia's
    Responses and Objections to Plaintiff's First Request for Production of Documents (Exhibit B)
    are enclosed.

            To date, Columbia has not provided any truly substantive documents in response to
    Plaintiffs Request for Production No. 7, Plaintiffs Request for Production No. 8, Plaintiff's
    Request for Production No. 9, Plaintiffs Request for Production No. 10, Plaintiffs Request for
    Production No. 11, Plaintiffs Request for Production No. 12, Plaintiffs Request for Production
    No. 13, Plaintiff's Request for Production No. 14, Plaintiffs Request for Production No. 15,
    Plaintiffs Request for Production No. 80, Plaintiffs Request for Production No. 81, and
    Plaintiff's Request for Production No. 82. Defendant's continued deficiency has significantly
    hindered the progression of discovery in this matter.

            Plaintiff's Requests for Production Nos. 7 through 15 seek documents and
    communications related to Gender-Based Misconduct Policy violations reported to and
    adjudicated by Columbia, including, inter alia, the gender of complainants and respondents, the
    number and gender of respondents found responsible, and the number and gender of respondents
    who received (or were spared from) specific punishments. Plaintiff has made several requests by
    telephone and in writing see_king the documentation demanded by these Requests. In response,
    Columbia has repeatedly indicated that some sort of documentation related to these Requests was
    forthcoming. However, during the four months that the Requests have been pending, Columbia
    has failed to provide any documentation outside of several Columbia University Gender-Based
    Misconduct Prevention and Response Annual Reports. These Annual Reports are only partially
    responsive to Plaintiffs Request for Production No. 7, Plaintiff's Request for Production No. 8,
    and Plaintifrs Request for Production No. 9 and do not provide any information that is truly
    helpful to proving Plaintiffs· Tit_le IX selective enforcement and New York City Human Rights
    Law causes of action. For example, while the Annual Reports contain certain statistics related to
    reported violations of the Gender-Based Misconduct Policy and Columbia's adjudication of
    these reports, they are void of any information relating to the gender of the complainants and the
    respondents. Additionally~ the Annual Reports are publicly available and have long been in
    Plaintiff's possession. As such, they do not constitute a document production in any real sense.

            Moreover, based on Columbia's previous representations, Plaintiff anticipates that the
    additional documentation Columbia plans on providing in response to Plaintiff's Requests for
    Production Nos. 7 through 15 will be insufficient. Columbia has advised that it will be creating a
    new document aggregating· the information contained within the documents responsive to these
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    Requests instead of simply providing the documents requested, which are almost certainly
    records kept in the regular course of Columbia's business. Plaintiff has repeatedly and on
    multiple occasions over the past several months informed Columbia that it is improper to refuse
    to provide the actual documents in response to these Requests, as Plaintiff cannot rely on
    Columbia's impressions of the information contained within the relevant documents to prosecute
    his case. Rather, he needs the actual documents and the raw data contained therein. However,
    because Columbia has not yet even provided this promised Columbia-generated documentation,
    Plaintiff has not been able to fu1ly and intelligently raise this issue with the Court. On January 7,
    2020, Columbia indicated that it would be providing "information responsive" to these Requests
    "as soon as possible this month." Given the relatively short timeframe for completing fact
    discovery in this matter and the nebulous timeline offered by Columbia, Plaintiff now has no
    choice but to raise this issue in an inchoate form.

            Plaintiffs Requests for Production Nos. 80 through 82 seek documents and
    communications related to Columbia's Title IX training. Columbia has not provided any
    documents or communications responsive to these Requests. Columbia has not provided any
    explanation regarding its failure to provide the responsive documents and communications
    during the four months that the Requests have been pending. Columbia has promised to provide
    documents responsive to these Requests by January 10, 2020.

            It is not possible to move fonvard with the necessary fact or expert discovery related to
    Plaintiffs Title IX selective enforcement and New York City Human Rights Law causes of
    action until Columbia complies with its long-outstanding discovery obligations. Each passing
    day of non-compliance by Columbia makes it less and less likely that fact discovery related to
    Plaintiffs Title IX selective enforcement and New York City Human Rights Law causes of
    action will be completed by the current May 1, 2020 deadline. Accordingly, Plaintiff requests
    that the Court set a very short deadline for Columbia's compliance with its outstanding discovery
    obligations. ·

    Defendant's Position

            As Plaintiff acknowledges, Columbia has committed to producing documents responsive
    to Plaintiffs Request Nos. 80~82 by this Friday, January 10, 2020, and information responsive to
    Plaintiffs Request Nos. 7~15° as soon as possible this month. On January 7, 2020, Columbia
    attempted to schedule a rrie_et-and-confer by telephone to address Plaintiffs remaining concerns
    with Columbia~s proposed responses to these· requests (which Plaintiff raised in a January 3,
    2020 email), but Plaintiff refused to do so and insisted that it was instead necessary to raise the
    alleged issues with the Court in this format without engaging in a real meet-and-confer process
    or othe1wise allowing for further discussion between the parties.

            This is improper. Your Honor's rules explicitly state that "[a]ny party wishing to raise a
    discovery dispute with the Court must first meet and confer in good faith with the opposing
    party, in person or by telephone, in an effort to resolve the dispute." Individual Practices in Civil
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    Cases§ 3.B (emphasis added). Here, Plaintiff has refused to do so, including by refusing even to
    schedule a telephone call so that Columbia could better understand and attempt to address his
    concerns. We would respectfully request that Your Honor order Plaintiff to comply with this
    directive going forward.

            Plaintiffs complaints about the substance of Columbia's forthcoming productions are
    premature in any event, given that Plaintiff has not yet received the productions and therefore
    cannot possibly assess their sufficiency. Indeed, what Plaintiff appears to be suggesting is that
    he will move to compel, no matter what Columbia ultimately produces and no matter what
    compromises the parties may otherwise reach as part of the required meet-and-confer process.
    That also violates Your Honor's rules because it clearly evidences a lack of good faith. Indeed,
    Plaintiffs refusal to engage with Columbia is particularly surprising given the progress that the
    parties have made in recently resolving their discovery disputes, including reaching final
    agreement on search terms on January 3, 2020, which will now allow the parties to move
    expeditiously to complete discovery within the deadlines set by the Court.

           Columbia remains willing to meet and confer in an effort to resolve Plaintiffs concerns,
    and there is no reason for Plaintiff to assume or conclude that Columbia will not continue to
    work as quickly as possible to review and synthesize the voluminous amounts of information
    requested on the timeline to which it has already committed. Plaintiffs attempt to manufacture a
    dispute where none exists should be rejected.

    IL Defendant's Request for Additional Records and a Written Certification Regarding Plaintiffs
       Military File

    Plaintiff's Position

             Defendant's Request for Production No. 36 seeks "Plaintiffs full Official Military
    Personnel File, including but not liinited to miscellaneous documents, routine or otherwise;
    group travel orders; temporary or additional duty orders; unaccompanied or on-base housing
    assignment, termination, waiver, or related documents; investigation related documents, and
    letters of recommendation." Instruction I of Defendant's First Request for Production of
    Documents states, "The documents called for by these Requests are documents in Your
    possession, custody, or control, or the possession, custody, or control of anyone acting on your
    behalf." Relevant portions of Defendant's First Request for the Production of Documents
    (Exhibit C) are enclosed. Plaintiff provided the majority of the documents in his possession,
    custody, or control responsive to Defendant's Request for Production No. 36 on October 7, 2019.
    Following a supplemental production on January 3, 2020, Plaintiff has now provided all
    documents responsive to Defendant's Request for Production No. 36 within his possession,
    custody, or control.

          In spite of Plaintiffs full com.pliance with Defendant's Request for Production No. 36,
    Columbia has repeatedly ass-erted that Plaintiff has not met his discovery obligations and has
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    demanded that Plaintiff provide a written certification from the United States government that
    the documents provided in response to Defendant's Request for Production No. 36 constitute his
    full official military personnel file as maintained by the United States government. Review of
    the language quoted above shows that Columbia's demand for such a certification from the
    United States Government is outside the scope of Defendant's Request for Production No. 36.
    Plaintiff has made his position clear to Columbia on multiple occasions. Still, Columbia has
    repeatedly demanded that Plaintiff produce a document that he is not required to produce
    pursuant to the relevant discovery demand.

            Moreover, Columbia's demand for a written certification is impracticable and unduly
    burdensome when considering the needs of this case. In order to obtain such a certification,
    Plaintiff would need to (1) send the documents that he provided to Columbia to the National
    Personnel Records Center; (2) request that the National Personnel Records Center compare the
    documents in its possession related to Plaintiffs military personnel file with the documents
    Plaintiff provided to Columbia; and (3) request a certification from the National Personnel
    Records Center that the documents produced to Columbia match governmental records. Such a
    request, in the urtlikely event it- were even entertained by the National Personnel Records Center,
    would take months to complete, unnecessarily delaying discove_ry in this matter.

            Additionally, Columbia has not provided any evidence that the documents provided in
    response to Defendant's Request for Production No. 36 are inauthentic in any way, shape, or
    form. In further support of the authenticity of the documents that he provided in response to
    Defendant's Request for Production No. 36, Plaintiff has also produced his Certificate of
    Honorable Discharge as well as a series of good conduct commendations, correspondence, and
    certificates. These documents are not part of Plaintiffs official military personnel file, but
    Plaintiff gratuitously provided them to Columbia in an attempt to resolve this dispute and avoid
    the needless expenditure of judicial resources. Moreover, Plaintiff financed his undergraduate
    and graduate education at Columbia, in part, through benefits obtained under the GI Bill.
    Plaintiff could not have obta1ned these benefits, which Columbia readily accepted in the form of
    tuition payments, unless his discharge from the United States Marine Corps was Honorable.
    Thus, there cannot be any assertion that the character of Plaintiffs military service and discharge
    were anything other than Honorable.

            Even though Plaintiff.has.fully complied with Defendant's Request No. 36, Columbia has
    also asserted that it is entitled to additional documentation along with the aforementioned written
    certification on the basis that Plaintiffs military record bears on whether Plaintiff has a history
    of engaging in conduct relevant_to the claims or defenses in this case. In responding to Request
    No. 36, Plaintiff objected, in part, "to the extent that [Request No. 36] seeks documents not
    relevant to any party's claims or defenses." Relevant portions of Plaintiffs Response to
    Defendant's Request for Production of Documents (Exhibit D) are enclosed. It is unclear how
    any purported prior bad conduct of Plaintiff would impact his claims or Columbia's defenses in
    this matter. There is no indication that any such instances of inappropriate behavior by Plaintiff
    ever occurred. As noted in the preceding paragraph, the evidence related to Plaintiffs military
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    Hon. Valerie E. Caproni
    January 8, 2020
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    service shows that his cond~ct was admirable and that his discharge was
    Honorable. Additionally, there is no indication that Columbia was aware of any supposed
    instances of improper conduct by Plaintiff when it adjudicated Complainant's and Plaintiffs
    claims against each other. Accordingly, the existence of any such alleged misconduct by
    Plaintiff is immaterial to Plaintiffs claims and Columbia's defenses. Instead of seeking
    legitimate discovery, Columbia is engaging in a fishing expedition in an attempt to trade on the
    unfortunate stereotype that veterans are violent and predatory despite the clear absence of any
    evidence that Plaintiff has ever engaged in such behavior.

            Columbia has offered Plaintiff a supposed compromise by requesting that Plaintiff
    explain the circumstances under which he obtained the documents produced in response to
    Defendant's Request No. 36 and the basis for his understanding that the documents produced
    comprise Plaintiffs full, official military personnel file as maintained by the United States
    government. As Plaintiff has explained to Columbia, this compromise, like Columbia's previous
    unwarranted demands, seeks information that is beyond the scope of the documentation sought
    by Request No. 36. As previously noted above and repeatedly communicated to Columbia,
    Plaintiff has provided all documents within his possession, custody, and control that are
    responsive to Request No. 36 and has therefore faithfully complied with his discovery
    obligations.

            There is simply no basis for requiring Plaintiff to further supplement his response to
    Defendant's Request for Production No. 36, nor is there any basis for requiring Plaintiff to obtain
    a written certification from the United States government as demanded by Columbia.
    Accordingly, Plaintiff requests that the Court determine that no further action by Plaintiff with
    regard to Defendant's Request for Production No. 36 is required.

    Defendant's Position

             As Plaintiff acknowledges, Columbia is not asking for Plaintiff to provide a written
    certification and merely seeks further information as to the documents that Plaintiff has already
    produced in order to understand whether the documents comprise Plaintiffs military record as
    called for under Columbia's Request No. 36. Columbia attempted on January 7, 2020 to
    schedule a meet-and-confer to address Plaintiffs concerns with providing such an explanation,
    but Plaintiff refused to do so·· and irlsisted that it was necessary to seek intervention from the
    Court without allowing for further discussion between the parties. As discussed above,
    Plaintiffs request for Court intervention is not only premature, but also violates Your Honor's
    rules, which state that "[a]ny party wishing to raise a discovery dispute with the Court must first
    meet and confer in good faith with the opposing party, in person or by telephone, in an effort to
    resolve the dispute." Individual Practices in Civil Cases§ 3.8. Here, Columbia believes that
    further discussions between the parties, as required by the Court's rules, would be productive and
    is willing to consider further compromise, particularly if Plaintiff can explain why he is so
    reluctant to furnish the requested explanation. Columbia therefore believes that Court
    intervention is not warranted at this time.
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WARS~AW BURST~IN, LLP


     Hon. Valerie E. Caproni
     January 8, 2020
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                                            *       *       *

           Your Honor's attention to this matter is greatly appreciated.


                                                         Respectfully submitted,

                                                        \~kl~~)
                                                         Kimberly C. Lau

     cc:   Counsel for Defendant (via ECF)

     Enclosures
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                EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                          Clvll Aedon No.: 19-ev-04327-VEC
 BEN FEIBLEMAN,
                               Plalndff,
                                                          PLAINTIFF'S FIRST REQUEST
 v.                                                       FOR PRODUCTION OF
                                                          DOCUMENTS
 THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF NEW
 YORK,

                                Defendant.


        PLEASE TAKE NOTICE that, pursuant to Rule 34 of the Federal Rules of Civil

Procedure, plaintiff Ben Feibleman ("Plaintiff"), by and through his attorneys Warshaw Burstein,

LLP, hereby requests that Defendant, The Trustees of Columbia University in the City of New

York ("Colwnbia") produce and make available for inspection and copying the documents

described herein which are in its possession, custody or control, within thirty (30) days:

                            DEFINITIONS AND INSTRUCTIONS

         I.    The definitions and rules of construction set forth in Rules 26 and 34 of the Federal

Rules of Civil Procedure and Local Rule 26.3 are hereby incorporated by reference.

        2.     In addition to the foregoing, the words "document" or "docwnents" include, but are

not limited to, "e-mail" and other fonns of electronic documents, communications and data

compilations, as well as any and all written, taped, recorded or graphic matter however produced

or reproduced (together with attachments and annotations thereto or thereon), agreements,

contracts, tapes, recordings or other forms of mechanical reproduction, reports, studies,

smnmaries, memoranda, calendar or diary entries, written notes, working papers, minutes,

agendas, bulletins, notices, announcements, instructions, charts, manuals, brochures, schedules,



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           6.     All directory infonnation (as defined in FBRPA), including, without limitation, full

name, address, e-mail address, telephone listing, photograph, date and place of birth, major field

of study, participation in college activities and sports, dates of attendance, degrees and awards

received, most recent previous educational institution attended, grade level and enrollment status

for the following Col\Dllbia University students:

           A.
           B.

            C.
            D.
            E.
           F.-;
            G.
            H.
            I.

            J. - ;
            K.

            L.
            7.    All documents and communications referring to the number and nature of Gender-

Based Misconduct Policy violations reported to Columbia University fiom January 1, 2009 to

present.

            8.    For the reports identified in response to Item 7., all documents and communications

refening to the number of cases adjudicated by a Hearing Panel in each year fiom January 1, 2009

to present.


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        9.      For the reports identified in response to Item 7, all documents and communications

referring to the number of students found responsible and the types of sanctions levied in each year

from January I, 2009 to present

         10.    For the reports identified in response to Item 7., all docmnents and communications

referring to the gender of the complainant and respondent in each year from January 1, 2009 to

present

         11.    For the reports identified in response to Item 7., all documents and communications

refening to the number of female students found responsible for violations of the Gender-Based

Misconduct Policy, including the sanctions levied in each year &om January 1, 2009 to present

         12.    All documents and communications refening to the number of students who were

granted their diploma while Gender-Based Misconduct Policy charges were pending against them

at the time of graduation from January 1, 2009 to present.

          13.   All documents and communications referring to the gender of an students who were

granted their diploma while Gender-Based Misconduct Policy charges were pending against them

at the time of graduation from January 1, 2009 to present.

         14.    All documents and communications referring to the number of students who had

their diploma withheld because they were found responsible for violations of the Gender-Based

Misconduct Policy.

          1S.   All documents and communications refemng to the gender of all students who had

their diploma withheld because they were found responsible for violations of the Gender-Based

Misconduct Policy.




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        72.     All documents and communications that fonned the basis of the Hearing Panel's

detennination of Plaintitrs credibility.

        73.     All documents and communications relied upon by Columbia in detennining the

Sanction.

         74.    All documents and communications relied upon by Columbia in drafting the

Sanction Letter.

         75.    All docmnents and communications related to Plaintitrs Appeal.

         76.    All documents and communications authored by, or received by, the Appellate

Panel members which relate to Complainant's report against Plaintiff.

         77.    All docmnents and communications authored by, or received by, the Appellate

Panel members which relate to Plaintifl'ts repon against Complainant

         78.    All documents and communications relied upon by the Appellate Panel in deciding

Plaintitrs AppeaJ.

         79.    All documents and communications relating to the Appellate Panel's determination

of Plaintifl'ts Appeal.

         80.    All documents and communications related to Columbia's Title IX training from

January 1, 2009 to present.

         81.    All Title IX training materials utilized to instruct Colmnbia faculty members, staff,

and other employees from January 1, 2009 to present

         82.    All documents and commwiications related to Title IX training provided to the

Hearing Panel members prior to June 21, 2017.

         83.    All documents and communications related to Tide IX reports made by

Complainant other than the report that Complainant made against Plaintiff.


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         84.   Plaintiff's academic transcript.

         8S.   All receipts for tuition fees paid by Plaintiff.

Dated: New York, New York
       August 30, 2019
                                                       WARSHAW BURSTEIN, LLP
                                                        Attorneys for Plaintiff

                                                       By .~~
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                 EXHIBITB
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


BEN FEIBLEMAN,

                                     Plaintiff,
                                                              No. 1: 19-cv-4327 (VEC) (KHP)
                           v.

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW YORK,
                                     Defendant.




              DEFENDANT THE TRUSTEES OF COLUMBIA UNIVERSITY
          IN THE CITY OF NEW YORK'S RESPONSES AND OBJECTIONS TO
         PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS


        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Rules

for the Southern District of New York (together, the "Rules''), Defendant The Trustees of

Columbia University in the City ofNew York ("Columbia''), by and through its attorneys, submits

these responses and objections ("Responses") to Plaintiff Ben Feibleman's First Request for

Production of Documents dated August 30, 2019 (the "Requests").

                         GENERAL OBJECTIONS AND RESPONSES

        The following general objections and responses (the "General Objections") are

incoiporated into each specific objection and response (the "Specific Objections") as if fully set

forth therein:

        1.       Columbia objects to the Requests to the extent they are duplicative, cumulative, or

seek information that has been or will be provided through other means of discovery.



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       B.
       c.
       D.
       E.
       F.
       G.
       H.
       I.
       J.-;
       K.                        ; and
       L

RESPONSE TO REQUEST NO. 6

       In addition to its General Objections, Columbia objects to Request No. 6 on the ground

that it is overly broad, unduly burdensome, and seeks information not relevant to either party's

claims or defenses, including but not limited to Plaintiff's Discrimination Claims. Columbia

further objects to Request No. 6 to the extent that it exceeds the scope of Federal Rule of Civil

Procedure 34(a) by requesting the production of "infonnation" rather than documents and is

therefore more appropriately served as an interrogatory. Plaintiff further objects to Request No. 6

to the extent it requests infonnation beyond that which is defined as "Directory Information" in

FERPA. See 20 U.S.C. 1232g(a)(S) and 34 C.F.R. § 99.37. Plaintiff further objects to Request

No. 6 to the extent it requests information for the purpose of serving a subpoena on Complainant,

which requires leave of the Court. See June Order at 2. Columbia will withhold responsive

information, if any, based on the foregoing objections.

REQUEST NO. 7

       All doeuments and communications referring to the number and nature of Gender-
Based Misconduct Policy violations reported to Columbia University from January 1, 2009
to present.

RESPONSE TO REQUEST NO. 7

       Columbia objects to Request No. 7 on the ground that it is vague and ambiguous to the

extent it uses the undefined tenn "nature." Columbia further objects to Request No. 7 on the
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ground that it is overly broad, unduly burdensome, and seeks infonnation not relevant to either

party's claims or defenses and disproportionate to the needs of the case to the extent it requests

"documents and communications referring to the number and nature of all Gender-Based

Misconduct policy violations" (emphasis added), and will withhold responsive documents, if any,

based on this objection. Columbia further objects to Request No. 7 on the ground that it requests

documents and communications from "January I, 2009 to present," which significantly predates

the allegations of the Complaint and is therefore beyond the scope of Plaintiff's claims, and will

withhold responsive docwnents, if any, based on this objection.

       Subject to its General and Specific Objections, Colurnbia will produce infonnation

sufficient to show the number of Gender-Based Misconduct ("OBM") Policy violations reported

to Columbia since Colwnbia reissued its GBM Policy at the start of the 2014-201S academic year

through the conclusion of the 2018-2019 academic year and the type of violation report~ where

the GBM Policy violation at issue was similar to that for which Plaintiff was charged, including

Sexual Assault: lntercomse, Sexual Assault: Contact, Sexual Assault: Type Not Specified by

Reporter, and Sexual Harassment Columbia will also produce the Annual Reports of Gender-

Based Misconduct Prevention and Response compiled by Columbia's GBM Office and Office of

Student Conduct and Community Standards released since Columbia reissued its OBM Policy at

the start ofthe 2014-2015 academic year through the conclusion of the 2018-2019 academic year.

REQUEST NO. 8

       For the reports identified in response to Item 7., all documents and eommunieations
referring to the number of cases adjudieated by a Hearing Panel in each year from
January l, 2009 to present.

RESPONSE TO REQUEST NO. 8

       Columbia objects to Request No. 8 on the ground that it is overly broad and unduly

burdensome to the extent it requests all documents and communications referring to the number
                                                9
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of cases adjudicated by a Hearing Panel for the reports identified in response to Item 7 and to the

extent it requests documents and communications from "January 1, 2009 to present," which

significantly predates the allegations of the Complaint and is therefore beyond the scope of

P1aintiff's claims, and will withhold responsive documents, if any, based on this objection.

       Subject to its General and Specific Objections, Columbia will produce infonnation

sufficient to show the number of GBM Policy violation cases adjudicated by a Hearing Panel since

Columbia reissued its GBM Policy at the start of the 2014-201S academic year through the

conclusion of the 2018-2019 academic year, where the GBM Policy violation at issue was similar

to that for which Plaintiff was charged, including Sexual Assault: Intercourse, Sexual Assault:

Contact, Sexual Assault: Type Not Specified by Reporter, and Sexual Harassment Columbia will

also produce the Annual Reports of Gender-Based Misconduct Prevention and Response compiled

by Columbia's GBM Office and Office of Student Conduct and Commwiity Standards released

since Columbia reissued its GBM Policy at the start of the 2014-2015 academic year through the

conclusion of the 2018--2019 academic year.

REQUEST NO. 9

       For the reports identified in response to Item 7, all doeuments and communications
referring to the number of students found responsible and the types of sanctions levied in
each year from January 1, 2009 to present.
RESPONSE TO REQUEST NO. 9

       Columbia objects to Request No. 9 on the ground that it is overly broad and unduly

burdensome to the extent it requests all documents and communications referring to the number

of students found responsible and the types of sanctions levied in each year for the reports

identified in response to Item 7 and to the extent it requests documents and communications from

"January 1, 2009 to present," which significantly predates the allegations of the Complaint and is


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therefore beyond the scope of Plaintifrs claims, and will withhold responsive docwnents, if any,

based on this objection.

       Subject to its General and Specific Objections, Columbia will produce information

sufficient to show the number of students found responsible for GBM Policy violations reported

to Columbia and the types of sanctions levied as a result since Columbia reissued its OBM Policy

at the start of the 2014-2015 academic year through the conclusion of the 2018-2019 academic

year, where the GBM Policy violation at issue was similar to that for which Plaintiff was charged,

including Sexual Assault: Intercourse, Sexual Assault: Contact, Sexual Assault: Type Not

Specified by Reporter, and Sexual Harassment. Columbia will also produce the Annual Reports

of Gender-Based Misconduct Prevention and Response compiled by Columbia's GBM Office and

Office of Student Conduct and Community Standards released since Columbia reissued its OBM

Policy at the start of the 2014-2015 academic year through the conclusion of the 2018-2019

academic year.

REQUEST NO. 10

       For the reports identified in response to Item 7., all documents and communications
referring to the gender of the eomplainant and respondent in eaeh year from January 1,
2009 to present.

RESPONSE TO REQUEST NO. 10

       Columbia objects to Request No. 10 on the ground that it is overly broad and unduly

burdensome to the extent it requests all documents and communications referring to the gender of

the complainant and respondent in each year for the reports identified in response to Item 7 and to

the extent it requests documents and communications from "January 1, 2009 to present," which

significantly predates the allegations of the Complaint and is therefore beyond the scope of

Plaintiff's claims, and will withhold responsive documents, if any, based on this objection.



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       Subject to its General and Specific Objections, Columbia will produce infonnation

sufficient to show the gender of the complainant and respondent for GBM Policy violations

reported to Columbia since Columbia reissued its GBM Policy at the start of the 2014-2015

academic year through the conclusion of the 2018-2019 academic year, where the OBM Policy

violation at issue was similar to that for which Plaintiff was charged, including Sexual Assault:

IntercoW"Se, Sexual Assault: Contact, Sexual Assault: Type Not Specified by Reporter, and Sexual

Harassment.

REQUEST NO. 11

       For the reports identified in response to Item 7., all documents and communications
referring to the number of female students found responsible for violations of the Gender-
Based Miseonduet Policy, including the sanctions levied in eaeh year from January 1, 2009
to present.

RESPONSE TO REQUEST NO. 11

       Columbia objects to Request No. 11 on the ground that it is overly broad and unduly

burdensome to the extent it requests all documents and communications referring to the number

of female students found responsible for violations of the GBM Policy, including the sanctions

levied, in each year for the reports identified in response to Item 7 and to the extent it requests

documents and communications from "January 1, 2009 to present," which significantly predates

the allegations of the Complaint and is therefore beyond the scope of Plaintiff's claims, and will

withhold responsive documents, if any, based on this objection.

       Subject to its General and Specific Objections, Columbia will produce information

sufficient to show the number of female students found responsible for GBM Policy violations and

the sanction levied upon those students since Columbia reissued its OBM Policy at the start of the

2014-2015 academic year through the conclusion of the 2018-2019 academic year, where the

GBM Policy violation at issue was similar to that for which Plaintiff was charged, including Sexual

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Assault: Intercourse, Sexual Assault: Contact, Sexual Assault: Type Not Specified by Reporter,

and Sexual Harassment.

REQUEST NO. 12

        AU doeuments and eommunieations referring to the number of students who were
granted their diploma while Gender-Based Misconduct Policy eharges were pending
against them at the time of graduation from January It 2009 to present.

RESPONSE TO REQUEST NO. 12

        Colwnbia objects to Request No. 12 on the ground that it is overly broad and unduly

burdensome to the extent it requests all documents and communications referring to the number

of students who were granted their diploma while GBM charges were pending against them at the

time of graduation and to the extent it requests documents and communications from "January 1,

2009 to present," which significantly predates the allegations of the Complaint and is therefore

beyond the scope of Plaintiff's claims, and will withhold responsive documents, if any, based on

this objection.

       Subject to its General and Specific Objections, Columbia will produce information

sufficient to show the number of students who were granted their diploma while GBM Policy

charges were pending against them at the time of graduation since Columbia reissued its GBM

Policy at the start of the 2014-2015 academic year through the conclusion of the 2018-2019

academic year, where the GBM Policy violation at issue was similar to that for which Plaintiffwas

charged, including Sexual Assault: lntercoW'Se, Sexual Assault: Contact, Sexual Assault: Type Not

Specified by Reporter, and Sexual Harassment

REQUEST NO. 13

       All documents and eommunieadons referring to the gender of all students who were
granted their diploma while Gender-Based Misconduct Polley charges were pending
against them at the time of graduation from January 1, 2009 to present.



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RESPONSE TO REQUEST NO. 13

       Columbia objects to Request No. 13 on the ground that it is overly broad and unduly

burdensome to the extent it requests all documents and communications referring to the gender of

all students who were granted their diploma while GBM Policy charges were pending against them

at the time of graduation and to the extent it requests documents and communications from

"January 1, 2009 to present," which significantly predates the allegations of the Complaint and is

therefore beyond the scope of Plaintiff's claims, and will withhold responsive documents, if any,

based on this objection.

       Subject to its General and Specific Objections, Columbia will produce information

sufficient to show the gender of students who were granted their diploma while GBM Policy

charges were pending against them at the time of graduation since Columbia reissued its OBM

Policy at the start of the 2014-201S academic year through the conclusion of the 2018-2019

academic year, where the OBM Policy violation at issue was similar to that for which Plaintiff was

charged, including Sexual Assault: Intercourse, Sexual Assault: Contact, Sexual Assault: Type Not

Specified by Reporter, and Sexual Harassment.

REQUEST NO. 14

       All documents and communications referring to the number of students who had
their diploma withheld heeause they were found responsible for violations of the Gender-
Based Misconduct Policy.

RESPONSE TO REQUEST NO. 14

       Columbia objects to Request No. 14 on the ground that it is overly broad and unduly

burdensome to the extent it requests all documents and communications referring to the number

of students who had their diploma withheld because they were folllld responsible for violations of

the OBM Policy, and will withhold responsive documents, if any, based on this objection.


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       Subject to its General and Specific Objections, Columbia will produce infonnation

sufficient to show the number of students who had their diploma withheld because they were fowtd

responsible for violations of the GBM Policy since Columbia reissued its GBM Policy at the start

of the 2014-2015 academic year through the conclusion of the 2018-2019 academic year, where

the OBM Policy violation at issue was similar to that for which Plaintiff was charged, including

Sexual Assault: Intercourse, Sexual Assault Contact, Sexual Assault: Type Not Specified by

Reporter, and Sexual Harassment.

REQUEST NO. 1S

        All documents and communications referring to the gender of all students who had
their diploma withheld beeause they were found responsible for violations of the Gender-
Based Misconduct Policy.

RESPONSE TO REQUEST NO. 15

       Columbia objects to Request No. 15 on the ground that it is overly broad and unduly

burdensome to the extent it requests all documents and communications refening to the gender of

all students who had their diploma withheld because they were found responsible for violations of

the GBM Policy, and will withhold responsive documents, if any, based on this objection.

       Subject to its General and Specific Objections, Columbia will produce information

sufficient to show the gender of students who had their diploma withheld because they were found

responsible for violations of the GBM Policy since Columbia reissued its GBM Policy at the start

of the 2014-2015 academic year through the conclusion of the 2018-2019 academic year, where

the GBM Policy violation at issue was similar to that for which Plaintiff was charged, including

Sexual Assault: Intercourse, Sexual Assault: Contact, Sexual Assault: Type Not Specified by

Reporter, and Sexual Harassment.




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RESPONSE TO REQUEST NO. 78

       Columbia objects to Request No. 78 on the ground that it is vague and ambiguous to the

extent it uses the undefined phrase "relied upon." Columbia further objects to Request No. 78 on

the ground that it calls for Columbia to speculate as to the scope of another's reliance. Columbia

further objects to Request No. 78 to the extent it calls for the production of documents and

communications that are subject to the attorney-client privilege, constitute attorney work product,

or are otherwise protected from disclosure under applicable privilege, law, or rule, and will

withhold responsive documents and communications, if any, based on this objection.

       Subject to its General and Specific Objections, Columbia will produce non-privileged

documents and communications provided to or received by the members of the Appellate Panel

that are being produced in response to other Requests, if any.

REQUEST NO. 79

       AD doeuments and eommunieations relating to the Appellate Panel's determination
of Plaintifrs Appeal.

RESPONSE TO REQUEST NO. 79

       Columbia objects to Request No. 79 to the extent it calls for the production of documents

and communications that are subject to the attomey..client privilege. constitute attorney work

product, or are otherwise protected from disclosure under applicable privilege, law, or rule, and

will withhold responsive documents and communications, if any, based on this objection.

       Subject to its General and Specific Objections, Columbia will produce non-privileged

documents and communications responsive to the Request, if any.

REQUEST NO. 80

      All documents and communications related to Columbia's Title IX training from
January 1, 2009 to present.



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RESPONSE TO REQUEST NO. 80

       Columbia objects to Request No. 80 on the ground that it is vague and ambiguous to the

extent it uses the undefined phrase "Title IX training." Columbia further objects to Request No.

80 on the ground that it is overly broad, unduly burdensome, and seeking information that is not

relevant to any party's claims or defenses and disproportionate to the needs of the case to the extent

it seeks documents and communications related to all of Columbia's "Title IX training," and will

withhold responsive documents and communications, if any, based on this objection. Columbia

further objects to Request No. 80 on the ground that it requests documents and communications

from the time period of"January 1, 2009 to present," which significantly predates the allegations

of the Complaint and is therefore beyond the scope of Plaintiff's claims, and will withhold

responsive documents and communications, if any, based on this objection. Columbia further

objects to Request No. 80 to the extent it calls for the production of documents and

communications that are subject to the attorney-client privilege, constitute attorney work product,

or are otherwise protected from disclosure under applicable privilege, law, or rule, and will

withhold responsive documents and communications, if any, based on this objection.

       Subject to its General and Specific Objections, Columbia will produce training materials

distributed or shown during training provided by Columbia on Title IX policies and procedmes to

the following individuals, from the start of the 2015-2016 academic year to the start of the 2017-

2018 academic year: Plaintiff and Complainant; the members of the Hearing Panel; the members

ofthe Appellate Panel; Ernest Sotomayor; and members of Columbia's OBM Office.

REQUEST NO. 81

       All Title IX training materials utilized to instruct Columbia faculty members, staff,
and other employees from January l, 2009 to present.



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RESPONSE TO REQUEST NO. 81

       Columbia objects to Request No. 81 on the ground that it is vague and ambiguous to the

extent it uses the undefined phrases "other employees" and "Title IX training." Columbia further

objects to Request No. 81 on the ground that it is overly broad, unduly burdensome, and seeking

information that is not relevant to any party's claims or defenses and disproportionate to the needs

of the case to the extent it seeks Title IX training materials used to instruct all Columbia faculty

members, staff, and other employees, and will withhold responsive documents and

communications, if any, based on this objection. Columbia further objects to Request No. 81 on

the ground that it requests information from a time period of"January 1, 2009 to present,', which

predates the allegations of the Complaint and is beyond the scope of PlaintilPs claims, and will

withhold responsive documents and communications, if any, based on this objection. Columbia

further objects to Request No. 81 to the extent it calls for the production of documents and

communications that are subject to the attorney-client privilege, constitute attorney work product,

or are otherwise protected from disclosure under applicable privilege, law, or rule, and will

withhold responsive docmnents, if any, based on this objection.

       Subject to its General and Specific Objections, Columbia will produce non-privileged

documents responsive to this Request, if any, to the extent such documents are being produced in

response to Request No. 80.

REQUEST NO. 82

      All documents and eommunieations related to Title IX training provided to the
Hearing Panel members prior to June 21, 2017.

RESPONSE TO REQUEST NO. 82

       Columbia objects to Request No. 82 on the ground that it is vague and ambiguous to the

extent it uses the undefined phrase "Title IX training." Columbia further objects to Request No.

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82 on the ground that it requests information from a time period which predates the allegations of

the Complaint and is beyond the scope of Plaintiff's claims, and will withhold responsive

documents and communications, if any, based on this objection. Columbia further objects to

Request No. 82 to the extent it calls for the production of documents and communications that are

subject to the attorney-client privilege, constitute attorney work product, or ate otherwise protected

from disclosure under applicable privilege, law, or rule, and will withhold responsive documents

and communications, if any, based on this objection.

       Subject to its General and Specific Objections, Columbia will produce non-privileged

documents responsive to this Request, if any, to the extent such documents are being produced in

response to Request No. 80.

REQUEST NO. 83

     All documents and communications related to Title IX reports made by
Complainant other than the report that Complainant made against Plaintiff.

RESPONSE TO REQUEST NO. 83

       In addition to its General Objections, Columbia objects to Request No. 83 on the ground

that it is overly broad, unduly burdensome, and seeking infonnation that is not relevant to any

party's claims or defenses and disproportionate to the needs of the case, and will withhold

responsive documents based on this objection. Columbia further objects to Request No. 83 on the

ground that it assumes the existence of any other Title IX reports made by Complainant Columbia

further objects to Request No. 83 to the extent it calls for the production of documents and

communications that are subject to the attorney-client privilege, constitute attorney work product,

or are otherwise protected from disclosure under applicable privilege, law, or rule, and will

withhold responsive documents and communications, if any, based on this objection.




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REQUEST NO. 84

        Plaintiff's ncndcmic transcript.

RESPONSE TO REQUEST NO. 84

        Subject to its General Objections, Columbia will produce Plaintiffs academic transcript.

REQUEST NO. 85

        All receipts for tuition fees paid by Plaintiff.

RESPONSE TO REQUEST NO. 85

        Subject to its General Objections, Columbia will produce non-privileged receipts for

tuition fees paid by Plaintiff.


Dated: October 7, 2019
       New York, NY

                                              By:




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BEN FEIBLEMAN,
                                    Plaintiff,

                          v.
                                                            No. 1: l 9-cv-04327 (VEC)

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW YORK,
                                    Defendant.


                    DEFENDANT THE TRUSTEES OF COLUMBIA
                  UNIVERSITY IN THE CITY OF NEW YORK'S FIRST
                 REQUESTS FOR THE PRODUCTION OF DOCUMENTS

               Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and Local Civil

Rules 26.2 and 26.3 of the Local Rules of the United States District Courts for the Southern and

Eastern District of New York, Defendant The Trustees of Columbia University in the City of New

York ("Columbia'') hereby requests that Plaintiff Ben Feibleman ("Plaintiff") produce the

following documents at the offices of Kaplan Hecker & Fink LLP, 3S0 Fifth Avenue, Suite 7110,

New York, NY 10118, within thirty (30) days of service of these First Requests for the Production

of Documents (the "Requests").

               The Definitions and Instructions below fonn an integral part of the Requests that

follow and must be read in conjunction with the Requests and followed when responding to the

Requests.

                                         DEF'INITIONS

               Solely for the purpose of the Requests, the following definitions shall apply,

without regard to capitalization:
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                                          INSTRUCTIONS

       Solely for the pwpose of the Requests, the following instructions shall apply:

        l.     The documents called for by these Requests are documents in Your possession,

custody, or control, or the possession, custody, or control of anyone acting on your behalf.

       2.      Your responses to these Requests shall be based on all knowledge and infonnation

in Your possession, custody, or control and should be provided irrespective of the Federal Rules

of Evidence.

       3.      The singular includes the plural and vice versa, except as the context may otherwise

require; any Request propounded in the present tense shall also be read as if propounded in the

past tense and vice versa; whenever a term is used herein in the present, past, future, subjunctive,

or other tense, voice, or mood, it shall also be construed to include all other tenses, voices, or

moods; reference to any gender includes all genders; the words "any" and "or'' shall be construed

either conjunctively or disjunctively as necessary to bring within the scope of the Request all

responses that might otherwise be construed to be outside its scope; the terms "all,,, ''any,', and

"each" shall each be construed as encompassing "any" and "all,,; the word "including" means

"including but not limited to."

       4.      These Requests seek production of all documents, in their entirety, along with any

attachments, drafts, and non-identical copies. A document with handwritten, typewritten, or other

recorded notes, editing marks, etc., is not and shall not be deemed identical to one without such

modifications, additions, or deletions.

       5.      Responsive documents should be produced in the manner prescribed by the Federal

Rules of Civil Procedure, including producing the requested documents as they are kept in the

usual course of business or organized and labeled to correspond to the categories in the Requests,



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               35.     All of Plaintiff's medical records, including mental health care records, for

the twenty years prior to the date of this Request, and duly executed authorimtions fully compliant

with HIPAA and, where applicable, Veterans Affairs regulations, enabling Columbia to obtain

these documents.

               36.     Plaintiff's full Official Military Personnel File, including but not limited to

miscellaneous docwnents, routine or otherwise; group travel orders; temporary or additional duty

orders; unaccompanied or on-base housing assignment, tennination, waiver, or related documents;

investigation related documents; and letters of recommendation.

               37.     All documents and communications related to Plaintiff's application for or

attempt to obtain service-connected Veterans' benefits for the twenty years prior to the date of this

Request.

               38.     Any personal log, diary, and/or similar document written by Plaintiff and

reflecting his thoughts, whether maintained electronically or on paper.

               39.     All documents and communications concerning Plaintiff's efforts to obtain

employment.

               40.     Documents sufficient to show any and all jobs held by Plaintiff and any

salary, income, and other benefits received in connection with those jobs.

               41.     All documents and communications, regardless of date, concerning

Plaintifrs financing of his CJS education, including any scholarship funding or financial aid

Plaintiff considered, discussed, inquired about, applied for, received, or was denied.

               42.     All documents received from any third-party in connection with this

litigation, including in connection with any subpoena issued in this litigation.




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                 43.     All documents not produced in response to any other Rcquest(s) that

Plaintiff intends to, or does, identify, use, reference, or rely upon in answering any interrogatory,

in any deposition, in preparing any motion or other filing, and at any Court conference, hearing,

or trial in this case.

                 44.     All documents and communications not produced in response to any other

Request(s) concerning any facts, circumstances, or allegations set forth in the Complaint that are

relevant to Plaintiff's Second Cause of Action ("Selective Enforcement").

                 45.     All documents and communications not produced in response to any other

Request(s) concerning any facts, circumstances, or allegations set forth in the Complaint that are

relevant to Plaintiffs Seventh Cause of Action ("Violation of New York City Human Rights

Law").

                 46.     Documents sufficient to show all names, nicknames, aliases, screennames,

phone numbers, email addresses, and social media addresses, usernames, and handles used by

Plaintiff.

Dated: New York, New York
       August 30, 2019

                                              By:


                                                                    nzer
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                           Civil Action No.: 19-cv-04327-VEC
  BEN FEIBLEMAN,
                                 Plaintiff,
                                                          PLAINTIFF'S RESPONSE TO
                  v.                                      DEFENDANT'S REQUEST
                                                          FOR PRODUCTION
  THE TRUSTEES OF COLUMBIA                                OF DOCUMENTS
  UNIVERSITY IN THE CITY OF NEW
  YORK,

                                 Defendant.



           PLEASE TAKE NOTICE THAT, Plaintiff Ben Feibleman ("Plaintiff''), by his attorneys,

Warshaw Burstein LLP, as and for his Response to Defendant, The Trustees of Columbia

University in the City of New York's ("Defendanf') request for the production of documents sets

forth the following:

                                    GENERAL OBJECTIONS

          The fo11owing general objections shaJI apply to each of the Document Requests and shall

have the same force and effect as if set forth in full in response to each individual document

request:

           I.    In responding hereto, Plaintiff does not waive any objections based on relevance,

materiality, competence, privilege, immunity from disclosure, admissibility, or any other grounds.

         2.      Plaintiff will respond to Document Requests specified more particularly below and

make his responses available to Defendant and jts attorneys for the purpose of this lawsuit and for

no other purpose.

         3.      Plaintiff has exercjsed due and reasonable diligence in responding to these

Document Requests. Plaintiff reserves the right to amend his responses when and if additional



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           documents and communications responsive to this request. Plaintiff resen'es the right to

           supplement this response as discovery progresses.



     35.      All of Plaintiffs medical records, including mental health care records, for the twenty

years prior to the date of this Request, and duly executed authorizations fu11y compliant with

HIP AA and, where applicab)e, Veterans Affairs regulations, enabling Columbia to obtain these

documents.

           Response to Request No. 35: Plaintiff objects to this request to the extent that it seeks

           documents not relevant to any party1s claims or defenses and seeks documents protected

           by the physician-patient privilege.



    36.       Plaintiff's full Official Military Personnel File, including but not limited to miscellaneous

documents, routine or otherwise; group travel orders; temporary or additional duty orders;

unaccompanied or on-base housing assignment, tennination, waiver, or related documents;

investigation related documents, and letters of recommendation.

           Response to Request No. 36: Plaintiff objects to this request to the extent that it seeks

           docwnents not relevant to any party's claims or defenses and seeks documents already

           within Columbia's possession~ custody, or control. Subject to and without waiving the

           aforesaid objections, a copy of PlaintiWs full Official Military Personnel File is annexed

           hereto as P00000124- P00000241.



    37.       All documents and communications related to Plaintitrs application tbr or attempt to

obtain service-connected Veterans' benefits for the twenty years prior to the date of this Request.




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               PLAINTIFF RESERVES THE RIGHT TO SUPPLEMENT HIS PRODUCTION OF
                       DOCUMENTS ACCOMPANYING THIS RESPONSE.




 Dated: New York, New York
        October 7, 2019
                                             WARSHAW BURSTEIN, LLP
                                             Altomeys for Plai111iff

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